                                                                                Case 3:02-cv-05570-WHA Document 760 Filed 04/08/04 Page 1 of 1



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                                                                          7                           IN THE UNITED STATES DISTRICT COURT
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                                                                                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
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United States District Court




                                                                              JANE DOE II, et al.,                                        No. C 02-05570 WHA
                                                                         12
                               For the Northern District of California




                                                                                             Plaintiffs,
                                                                         13     v.                                                        ORDER DISMISSING CASE
                                                                         14                                                               AND CLOSING THE FILE
                                                                              LAKIREDDY BALI REDDY, et al.,
                                                                         15                  Defendants.
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                                                                         17          For the reasons stated on the record on April 7 and 8, 2004, this case is DISMISSED
                                                                         18   pursuant to settlement. The Clerk SHALL CLOSE THE FILE. The Court retains jurisdiction to
                                                                         19   enforce at least one of the settlement agreements herein.
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                                                                         21          IT IS SO ORDERED.
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                                                                         23   Dated: April 8, 2004.                                 S/ WILLIAM ALSUP
                                                                         24                                                      WILLIAM ALSUP
                                                                                                                                 UNITED STATES DISTRICT JUDGE
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